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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CIBC Bank USA f/k/a The Private Bank and                   )
Trust Company, as Administrative Agent,                    )
                                                           )
                           Plaintiff,                      )    Civil Action No. 18-cv-3964
                                                           )
                v.                                         )
                                                           )    Judge John Z. Lee
JH Portfolio Debt Equities, LLC; JH Portfolio              )
Debt Equities 2, LLC; JH Portfolio Debt                    )    Magistrate Judge Daniel G. Martin
Equities 4, LLC; and JH Reviver LLC,                       )
                                                           )
                Defendants.                                )
                SUPPLEMENTAL DECLARATION OF ANTHONY RIGGIO

        1.      I am the President of Defendant, JH Portfolio Debt Equities, LLC d/b/a JH Capital

Group (“JHPDE”). In that role, I oversee business development, acquisitions, and collection

operations for the additional defendant entities, JH Portfolio Debt Equities 2, LLC (“JH2”); JH

Portfolio Debt Equities 4, LLC (“JH4”); and JH Reviver LLC (“JHR”) (individually and

collectively, with JHPDE, “JH” or the “Defendants”). I have the authority to make these statements

on behalf of JH.

        2.      The statements made in this declaration are based on my personal knowledge and

a review of the JH business records. If called to testify as a witness, I would testify consistent with

the facts stated herein.

                                        JH’s Use of Its Operating Assets

        3.      JH is in the business of purchasing portfolios of loan accounts at a discount to their

face value and generating profits by recovering the amounts due on the accounts. JH used the

Loans under the Credit Agreement to purchase portfolios of loan accounts for the Company, and

the portfolios serve as collateral for the Loans. Thus the collateral under the Credit Agreement


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serves as the operating assets of JH.

       4.      Proceeds from these portfolios have been used to make the interest payments on

the Loans pursuant to the Credit Agreement. The Company was current on these interest payments

through July 13, 2018. The remaining proceeds from the portfolios are used to execute the business

plan and operate the business. No money is being used by JH except for proper company expenses

in the ordinary course of business.


            JH is in the Best Position to Maximize the Value of the Debt Portfolios

       5.      The debt portfolios will yield significantly higher proceeds if JH continues to

employ its current collection strategy or implements its new collection strategies. Based on the

revenue projections associated with the new strategies and enhanced value, JH will be able to pay

down the principal balance of the CIBC loans or refinance the CIBC loans.

       6.      Liquidating JH’s debt portfolios will result in the lowest value to JH’s lenders, joint

venture partners, and owners.

       7.      CIBC knows that JH is in the best position to maximize the value of the debt

portfolios. CIBC has engaged an expert to value the JH debt portfolios and JH is paying for the

services. Pursuant to the engagement letter with                                      , JH may not

disclose the expert’s report and analysis without consent. (See

Engagement Letter, attached hereto as Exhibit 1.) JH’s counsel requested that CIBC consent to the

disclosure of the expert report and analysis in connection with this action, but CIBC has not

consented. (See July 30, 2018 letter from M. Sinclair to E. Weil, attached hereto as Exhibit 2.)

       8.      JH has been seeking substitute financing to replace CIBC. However, this effort has

been made more difficult by CIBC’s pending motion to appoint a receiver. Based upon my

conversations with potential lenders, the appointment of a liquidating receiver would prevent JH



                                                 2
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from obtaining substitute financing.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on August 8, 2018.


                                       Signature: _________________________
                                                  Anthony Riggio




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                             REDACTED




                                                                    Exhibit 1
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                                                                    Exhibit 2
